          Case 3:13-cr-05308-BHS            Document 79         Filed 09/30/13         Page 1 of 2



1
                               UNITED STATES DISTRICT COURT
2                             WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
3
     UNITED STATES OF AMERICA,                         )   Case No.: CR13-5308BHS
4                                                      )
                     Plaintiff,                        )
5           vs.                                        )   AGREED ORDER POSTPONING TRIAL
                                                       )   UNTIL WEDNESDAY, OCTOBER 9,
6    RAY EUGENE CALDWELL,                              )   2013
                                                       )
7                    Defendant.                        )
                                                       )
8
                                                       )
9
             Before this Court is a stipulated motion to postpone the trial in the above captioned matter
10
     to Wednesday, October 9, 2013. The government stipulating to said postponement, the Court
11
     finds, after a consideration of all relevant information and the circumstances of this case, that
12

13   without this postponement the defendant will be prejudiced and the ability to properly prepare for

14   trial would be impaired. Failure to grant a postponement under these circumstances would result

15   in a miscarriage of justice. The ends of justice would best be served by the granting of the motion
16
     for postponement. The ends of justice outweigh the best interests of the public and the defendant
17
     in having the matter continue sooner. For these reasons, the Court finds the stipulated motion for
18
     postponement should be granted. The trial is hereby postponed. Trial shall resume on
19
     Wednesday, October 9, 2013 at 9:00 a.m.
20

21           IT IS SO ORDERED.

22           DONE COURT this 30th day of September, 2013.




                                                     A
23

24

25

26                                                   BENJAMIN H. SETTLE
                                                     United States District Judge
27

     AGREED ORDER POSTPONING TRIAL - 1                                    HESTER LAW GROUP, INC., P.S.
                                                                            1008 So. Yakima Ave., Suite 302
                                                                                  Tacoma, WA 98405
                                                                          (253) 272-2157/Fax: (253) 572-1441
           Case 3:13-cr-05308-BHS            Document 79       Filed 09/30/13        Page 2 of 2



1    Presented by:

2    HESTER LAW GROUP, INC., P.S.
     Attorneys for Defendant
3
     /s/ Wayne C. Fricke
4
     By: _________________________
5        Wayne C. Fricke
         WSB #16550
6
     U.S. ATTORNEY’S OFFICE
7

8    Approved Via E-Mail: 9/30/2013

9    By:     _________________________
             James D. Oesterle
10
             Assistant U.S. Attorney
11

12                                      CERTIFICATE OF SERVICE
13           I hereby certify that on September 30th, 2013, I electronically filed the foregoing Agreed
14
     Order Postponing Trial with the Clerk of the Court using the CM/ECF system which will send
15
     notification of such filing to the following:
16
             James D. Oesterle
17           Assistant U.S. Attorney
             700 Stewart Street, Suite 5220
18           Seattle, WA 98101
19           I hereby certify that on September 30th, 2013, I e-mailed the Agreed Order Postponing
20
     Trial to the following:
21
             Ray E. Caldwell
22           2446 Mulberry Ave.
             Longview, WA 98632
23

24          DATED this 30th day of September, 2013.

25                                                          /s/ Sarah M. Heckman

26                                                          _______________________
                                                            Sarah M. Heckman
27

     AGREED ORDER POSTPONING TRIAL - 2                                  HESTER LAW GROUP, INC., P.S.
                                                                          1008 So. Yakima Ave., Suite 302
                                                                                Tacoma, WA 98405
                                                                        (253) 272-2157/Fax: (253) 572-1441
